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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA,

v.          CASE NO. 8:16-CR-54-T-17TGW

WILLIANS RODRIGUEZ PERSI.

                                  /


                                        ORDER


      This cause is before the Court on:

      Dkt. 22       Motion to Correct Defendant’s Name

      The United States of America moves to correct an error in the Indictment of
Defendant Wiilians Rodriguez Persi. As a result of identification documents seized
from Defendant at the time of Defendant’s arrest, Defendant’s name is incorrectly
identified in the Indictment. Defendant has now provided his correct name, which is
Persi William Mosquera-Rodriguez.


      An indictment ordinarily may be amended provided that any evidence defendant
had before the amendment would be equally available to defendant after the
amendment. Amendments as a matter of form are freely permitted. See United States
v. Johnson. 741 F.2d 1338, 1340-1341 (11th Cir. 1984V cert, denied. 471 U.S. 1117
(1985).


      Defendant Mosquera-Rodriguez joins in this request.


      After consideration, the Court grants the Motion to Correct Defendant’s Name to
Persi William Mosquera-Rodriguez, and grants leave for the filing of an amended
indictment to correct the misnomer. Accordingly, it is
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      ORDERED that the Motion to Correct Defendant’s Name to Persi William
Mosquera-Rodriguez (Dkt. 22) is granted, and the leave is granted to file an amended
indictment.




      DONE and ORDERED in Chambers in Tampa, Florida on t h i s ^ f i day of
March, 2016.




Copies to:
All parties and counsel of record




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